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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

PATRICIA WALKER-SWINTON                                                               PLAINTIFF

v.                               Case No. 4:18-cv-00886-KGB

PHILANDER SMITH COLLEGE, et al.                                                   DEFENDANTS

                                             ORDER

       On September 15, 2020, counsel for defendant Philander Smith College communicated

with the Court via electronic mail that portions of certain documents recently filed by plaintiff

Patricia Walker-Swinton might contain protected student information. See Court’s Ex. A.

Specifically, defense counsel identified Dkt. Nos. 166-3, 166-4, and 166-5 as filings containing

information that should possibly be under seal. See id.

       The Court has reviewed these filings, the Protective Order, and FERPA. At this time, on

its own motion and pending further argument from the parties, the Court directs the Clerk to place

under seal Dkt. Nos. 166-3, 166-4, and 166-5. If any party objects to these docket entries

remaining under seal or proposes redactions to protect under seal information in the filing but to

permit the remaining portion of the filing to be unsealed, the party should file a written motion

with the Court within ten days from the entry of this Order objecting to the under-seal filing.

       It is so ordered this 28th day of January, 2021.



                                                     ________________________________
                                                     Kristine G. Baker
                                                     United States District Judge
